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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                        )
In re:                                  )                         Chapter 11
                                        )
                                        )                         Case No. 24-90468 (ARP)
DIGITAL MEDIA SOLUTIONS, INC., et al.,1 )
                                        )                         (Jointly Administered)
                   Debtors.             )
                                        )
                                        )
PRESIDIO INTERACTIVE CORPORATION, )
                                        )
                                        )                         Adversary Proceeding No. ___________
        Plaintiff,                      )
                                        )
        v.                              )
                                        )
DIGITAL MEDIA SOLUTIONS, LLC            )
                                        )
        Defendant.                      )
                                        )
                                        )

                                                 COMPLAINT

         This action arises out of Defendant/Debtor Digital Media Solutions, LLC (“DMS”)’s abuse

of process in Presidio Interactive Corporation v. Digital Media Solutions, LLC, Case

No. 24-002498-CI (Fla. Cir. Ct.), Arbitration Case No. 01-23-0002-8197 (Am. Arbitration Ass’n)

(“Underlying Action”). As set forth below, DMS deliberately delayed resolving an arbitration

claim and the confirmation of the resulting award (the “Award”) by Plaintiff Presidio Interactive

Corporation (“Presidio”). DMS did so in a bad-faith effort to run the clock until it could file for

bankruptcy in an effort to escape liability. DMS’s misconduct caused Presidio substantial

damages, including attorneys’ fees and expenses incurred in prosecuting the Underlying Action.


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  A complete list of each of the Debtors in these chapter 11 cases and the last four digits of their federal tax
identification numbers may be obtained on the website of the Debtors’ claims and noticing agent at
https://omniagentsolutions.com/DMS. The location of Debtor Digital Media Solutions, Inc.’s principal place of
business and the Debtors’ service address in these chapter 11 cases is 4800 140th Avenue North, Suite 101, Clearwater,
Florida 33762.
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       The Award itself compensates Presidio’s costs in defending a consumer class action arising

from DMS’s alleged statutory violations of the Telephone Consumer Protection Act (“TCPA”).

As a AAA arbitrator found, DMS failed to indemnify and defend Presidio in that action in violation

of its contractual and common-law obligations. Presidio filed claims for this harm before the bar

claims date in the underlying bankruptcy proceeding. (Claim No. 30). The Court should confirm

the Award and find Presidio’s damages non-dischargeable under 11 U.S.C. § 523(a)(6) because

DMS’s abusive tactics were willful and malicious.

                                        THE PARTIES

       1.      Presidio is a Delaware Corporation with its principal headquarters located in Ponte

Vedra Beach, Florida 32082.

       2.      DMS is a Delaware limited liability company with its principal headquarters in

Clearwater, Florida.

                                 JURISDICTION & VENUE

       3.      This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§

157 and 1334(b).

       4.      This adversary proceeding is a core proceeding to be heard and determined by the

Bankruptcy Court under 28 U.S.C. § 157(b)(2)(A), (B) & (I).

       5.      To the extent that any matter herein is non-core, Presidio hereby consents to the

Court’s entry of a final judgment resolving this Adversary Proceeding.

       6.      Venue for this adversary proceeding is proper in this Court pursuant to 28 U.S.C.

§§ 1408 and 1409.




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       7.      This adversary proceeding is commenced pursuant to Rule 3007(b) and 7001(2) of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and sections 362(k) and 506

of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (as amended, the “Bankruptcy Code”).

                                       BACKGROUND

       8.      In 2021, Presidio engaged DMS to perform telemarketing services on Presidio’s

behalf. Among other things, DMS agreed to comply with the TCPA and to defend and indemnify

Presidio for DMS’s TCPA violations or related liability.

       9.      At the time, DMS was one of only two publicly traded telemarketing vendors, then

worth billions of dollars, and was regarded as a reliable vendor. Presidio paid a premium for what

it believed was a reliable, well-capitalized vendor.

       10.     On January 17, 2023, Presidio was named as a defendant in a putative class action

alleging TCPA liability arising from calls DMS made to a consumer. Antosi v. Presidio Interactive

Corporation, et al., Case No. 1:23-cv-00395 (S.D.N.Y.) (the “Antosi Action”).

       11.     Presidio demanded that DMS defend and indemnify it in the Antosi Action, per the

Agreement requiring DMS to do so. After stalling for months, DMS ultimately refused to defend

and indemnify Presidio.

       12.     Accordingly, on June 22, 2023, Presidio served an arbitration demand against

DMS, alleging that DMS had breached its contractual and common law duties to Presidio by

refusing to defend and indemnify it in the Antosi Action.

       13.     Presidio’s story is common. DMS’s reputation plummeted in the two years after

Presidio retained the company. DMS was named in multiple lawsuits for failing to comply with

the TCPA. And in September 2023, it was delisted from the New York Stock Exchange for failing




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to meet minimum capitalization requirements. By the time Presidio initiated its arbitration

proceeding, DMS’s share price fell from $150 to $5.

       14.     Upon information and belief, DMS knew as early as June 2023 that it would

ultimately file bankruptcy and purposefully sought to delay the arbitration and confirmation

process with frivolous filings and requests. DMS did this to stop Presidio from obtaining a

judgment before DMS could declare bankruptcy.

       15.     Throughout the dispute, DMS steadfastly refused to engage in any settlement

negotiations, even after receiving multiple adverse rulings from the Arbitrator. DMS’s posture had

no discernable connection to the merits of its defense. Presidio ultimately realized that DMS would

never voluntarily pay—and that DMS’s goal in the arbitration was to delay by any means possible.

       16.     On September 25, 2023, Presidio served a settlement proposal pursuant to Fla. Stat.

768.79 and Fla. R. Civ. P. 1.442 (the “Proposal”). In characteristically obstinate fashion, DMS

failed to respond to the Proposal and thereby rejected it.

       17.     The Arbitrator ultimately found that DMS breached its duty to defend Presidio and

held an evidentiary hearing to determine the extent that the invoices Presidio paid to defend the

Antosi Action were attributable to DMS’s breach. DMS refused to examine Presidio’s counsel

about those invoices. Instead, DMS demanded that it be allowed to challenge the invoices by

briefing, which would take longer to resolve.

       18.     In its briefing, DMS challenged multiple invoice entries that mentioned the words

“indemnity” and “Tranzact” (the “Challenged Entries”), claiming that work was necessarily

related to the indemnity action against DMS and defending MG LLC d/b/a Tranzact, another

defendant in the Antosi Action.




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       19.     On March 21, 2024, the Arbitrator entered the interim Award in favor of Presidio.

Overruling most of DMS’s objections, the Arbitrator awarded Presidio $100,743.77 in damages.

       20.     A few weeks later, DMS effectively moved for reconsideration asking the

Arbitrator to modify the interim Award. DMS’s motion raised many of the same arguments it

raised in the evidentiary briefing. DMS further argued that because the Arbitrator sustained some

of DMS’s objections, she had no choice but to exclude all Challenged Entries.

       21.     DMS’s motion was frivolous as the AAA only permits modification for “clerical,

typographical, or computational errors in the award.” AAA Rule 50. But DMS didn’t care because

its motion to modify was intended to delay Presidio from resolving its claims.

       22.     The Arbitrator denied DMS’s motion in May 2024.

       23.     On July 8, 2024, the Arbitrator entered an order confirming the Award and closing

the underlying arbitration. See Award, attached as Exhibit 1.

       24.     As the damages set forth in the Award were at least 25 percent greater than the

Proposal, Presidio is entitled under Florida law to the attorney’s fees it incurred (and continues to

incur) after serving the Proposal.

       25.     Presidio promptly filed a petition to confirm the Award in the Circuit Court for the

Sixth Judicial Circuit in and for Pinellas County, Florida (“Florida Circuit Court”)—more than

three months before DMS filed for chapter 11 protection.

       26.     Continuing its pattern of delay, DMS filed a baseless motion to vacate the Award

in the Florida Circuit Court.

       27.     In an intentionally dishonest reading of Presidio’s arbitration demand, DMS argued

that Presidio somehow failed to allege that DMS breached its duty to defend under Florida’s

pleading standards. DMS further claimed that Presidio’s headings referring to counts as




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“indemnity” claims excluded DMS’s duty to defend despite expressly plead allegations otherwise.

As such, DMS maintained that the Arbitrator exceeded her authority by finding DMS breached its

duty to defend and awarding Presidio damages on that theory.

       28.     The motion was, and is, sanctionably frivolous for multiple independent reasons.

Initially, the arbitration was pending before the AAA, so Florida’s pleading standards didn’t apply.

Even if they had, Presidio’s demand easily satisfied Florida’s pleading standards by specifically

and repeatedly alleging that DMS “breached” its “duty to defend” Presidio in the Antosi Action,

and that Presidio was seeking to recover its “attorneys’ fees” incurred in that action as a result.

Moreover, DMS’s duty to indemnify included damages Presidio incurred defending the Antosi

Action under Florida law. Hiller Grp., Inc. v. Redwing Carriers, Inc., 779 So. 2d 602, 604 (Fla.

2nd DCA 2001). And DMS’s position that the caption of a count controls the scope of the claims

asserted therein was a form-over-substance argument that flies in the face of established case law.

       29.     Presidio alleged that DMS breached its duty to defend, the parties extensively

briefed and argued that issue, and the Arbitrator properly awarded damages. That is what the entire

Arbitration was about.

       30.     But DMS never intended to win on its groundless motion to vacate. The purpose

was instead to improperly delay Presidio from confirming its arbitration award and collecting a

judgment against DMS until it was too late because of the bankruptcy. Consistent with that goal,

DMS did not set its own motion for hearing.

       31.     Presidio responded to DMS’s motion to vacate on August 15, 2024, and asked

DMS’s counsel to agree to a hearing on September 3, 2024, about a week before DMS declared

bankruptcy. DMS’s counsel refused, claiming he had a conflict, which he refused to identify. Upon

information and belief, DMS knew that its bankruptcy filing was imminent and wanted to avoid




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the risk that the judge might deny DMS’s motion to vacate and grant Presidio’s petition to confirm

the arbitration before DMS could file bankruptcy. As a result of DMS’s continued efforts to delay,

the motion was set for hearing on October 25, 2024.

        32.    On September 11, 2024, DMS filed its chapter 11 petition in this Court. In re

Digital Media Solutions, Inc., No. 4-24-BK-90468-ARP (Bankr. S.D. Tex.), ECF No. 1.

        33.    On September 12, 2024, the Court restated and enforced an automatic stay of

proceedings against DMS. Id., ECF No. 50. DMS filed a notice of the stay in the Florida Circuit

Court on the same day.

        34.    On October 22, 2024, in compliance with the stay, Presidio canceled the

motion-to-vacate hearing.

        35.    Presidio now brings this adversary proceeding to confirm the Award and recover

the substantial harm DMS’s bad-faith filings caused to Presidio. Presidio incurred costs

prosecuting Presidio’s claim before an AAA arbitrator and seeking confirmation of the arbitrator’s

Award, all while responding to DMS’s frivolous motions that were meant to delay Presidio from

resolving its claims until DMS declared bankruptcy.

        36.    DMS has exhibited bad faith at every turn. DMS has broken its agreements,

stonewalled, wasted court resources on frivolous motions, and abused judicial processes, including

the bankruptcy system. DMS’s abusive tactics were willful and malicious.

        37.    The Court should confirm the Award and find Presidio’s claims against DMS non-

dischargeable under 11 U.S.C. § 523(a)(6).

                                          COUNT I
                                    Confirmation of Award

        38.    Presidio incorporates by reference the foregoing paragraphs as though set forth in

full herein.



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        39.    Within a year of receiving an arbitration award, “any party to the arbitration may

apply to the court so specified for an order confirming the award[.]” 9 U.S.C. § 9.

        40.    This Court has authority to confirm or vacate an arbitration award under the

standards of the Federal Arbitration Act (“FAA”). See, e.g., In re Texans CUSO Ins. Group, LLC,

421 B.R. 769, 777 (Bankr. N.D. Tex. 2009) (bankruptcy court confirming arbitration award).

        41.    The Award constitutes a final, binding arbitration award validly rendered by the

AAA, pursuant to DMS and Presidio’s agreement, and is ripe for confirmation.

        42.    Presidio moved to confirm the Award in the Florida Circuit Court but could not

continue with that action as DMS initiated this bankruptcy.

        43.    Accordingly, Presidio asks the Court to enter an order confirming the Award. Ex.

1.

                                            COUNT II
                                          Abuse of Process

        44.    Presidio incorporates by reference the foregoing paragraphs as though set forth in

full herein.

        45.    A defendant is liable for abuse of process where he willfully uses a judicially

sanctioned process in a wrongful manner for an improper purpose and the wrongful use of that

process caused the plaintiff injury.

        46.    Title 11, U.S. Code section 105(a) states that “[t]he court may issue any order,

process, or judgment that is necessary or appropriate to carry out the provisions of this title . . . or

to prevent an abuse of process.”

        47.    Under section 105, bankruptcy judges have broad authority to take necessary or

appropriate actions to prevent an abuse of the judicial process, including imposition of sanctions.




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Marrama v. Citizens Bank of Mass., 549 U.S. 365, 375 (2007); Chambers v. NASCO, Inc., 501

U.S. 32, 42-46 (1991).

         48.   The imposition of sanctions—which may consist of attorney’s fees—under section

105(a) must be accompanied by a specific finding of bad-faith conduct. Leonard v. Luedtke (In re

Yorkshire, LLC), 540 F.3d 328, 332 (5th Cir. 2008); see also Roadway Exp., Inc. v. Piper, 447

U.S. 752, 766 (1980); Chambers, 501 U.S. at 42-44.

         49.   Bad-faith conduct may be established if a court finds that the party “deliberately

abused the judicial process.” The Cadle Co. v. Moore (In re Moore), 739 F.3d 724, 730 (5th Cir.

2014).

         50.   While “abuse of process” under section 105(a) is not defined in the Bankruptcy

Code, this Court has “essentially define[d] it as ‘maneuvers or schemes which would have the

effect of undermining the integrity of” judicial processes. In re Trevino, 615 B.R. 108, 128 (Bankr.

S.D. Tex. 2020) (quoting In re Calder, 93 B.R. 739, 740 (Bankr. D. Utah 1988), and In re Burrell,

148 B.R. 820, 824 (Bankr. E.D. Va. 1992)).

         51.   In addition, 11 U.S.C. § 523(a)(6) excepts from discharge a debt “for willful and

malicious injury by the debtor to another entity or to the property of another entity . . . .”

         52.   An injury is willful and malicious “where there is either an objective substantial

certainty of harm or a subjective motive to cause harm.” Shcolnik v. Rapid Settlements Ltd. (In re

Shcolnik), 670 F.3d 624, 629 (5th Cir. 2012) (quoting Miller v. J.D. Abrams Inc. (In re Miller),

156 F.3d 598, 606 (5th Cir. 1998)).

         53.   “The objective standard is met when a court finds that a debtor intentionally took

action(s) that necessarily caused, or were substantially certain to cause the injury.” Chowdary v.




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Ozcelebi (In re Ozcelebi), 640 B.R. 884, 905 (Bankr. S.D. Tex. 2022) (citing Rainey v. Davenport

(In re Davenport), 353 B.R. 150, 202 (Bankr. S.D. Tex. 2006)).

       54.     The subjective standard is met when “the debtor intended the actual injury that

resulted.” Id. (citing Davenport, 353 B.R. at 202).

       55.     DMS’s conduct in filing multiple frivolous motions in the underlying arbitration

and confirmation process to prevent Presidio from obtaining an award and confirming it until DMS

could claim bankruptcy protection was willful, malicious, and calculated to delay Presidio from

resolving its claims until DMS was ready to file bankruptcy.

       56.     DMS’s actions were intended to and substantially certain to harm Presidio.

       57.     DMS’s intentional, willful, and malicious actions caused Presidio substantial injury

in evading payment of damages owed to Presidio, as determined in the arbitration Award, and in

Presidio’s costs to prosecute the Underlying Action. Presidio’s injuries include legal expenses it

would not have had not pay but for DMS’s dilatory tactics. Presidio also suffered harm from

DMS’s actions because its claim in this proceeding consequently arises from an unconfirmed

arbitration award.

       WHEREFORE, Presidio prays for the following relief:

       (a)     That the Court confirm Presidio’s Award against DMS;

       (b)     That the Court enter a non-dischargeable judgment in Presidio’s favor and against

               DMS for actual damages incurred as a consequence of DMS’s willful and malicious

               actions intended and substantially certain to cause Presidio harm, including the

               amount of the arbitration Award against DMS;

       (c)     That the Court enter a non-dischargeable judgment in Presidio’s favor and against

               DMS for punitive damages in an amount appropriate to address DMS’s willful,




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       malicious, and intentional conduct and to deter similar conduct in the future;

(d)    That the Court enter a non-dischargeable judgment in Presidio’s favor and against

       DMS for Presidio’s expenses of litigation, including reasonable attorneys’ fees and

       costs, incurred in the Underlying Action;

(e)    That the Court enter a non-dischargeable judgment in Presidio’s favor and against

       DMS for Presidio’s expenses of bringing this adversary proceeding; and

(f)    That the Court award such other and further relief as it deems just and appropriate

       under the circumstances.

Respectfully submitted, this 10th day of December 2024.

                                     WATSTEIN TEREPKA, LLP

                                     /s/ Patrick J. Fitzgerald
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            EXHIBIT 1
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